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                    UNITED STATES DISTRICT COURT
                 FOR THE DISTRICT OF NEW HAMPSHIRE




United States of America

     v.                                      Case No. 06-cr-226-PB

Beth Handy, et al.


                               O R D E R


     Defendant Robert McFadden has moved to continue the February

6, 2007 trial in the above multi-defendant case, citing newly

appointed counsel and the need for additional time to complete

discovery and prepare a defense.      The government and the co-

defendants do not object to a continuance of the trial date.

     Accordingly, for the above reason and to allow the parties

additional time to properly prepare for trial, the court will

continue the trial from February 6, 2007 to June 5, 2007.             In

agreeing to continue the trial, the court finds pursuant to 18

U.S.C.A. § 3161(h)(8)(A) that for the above-stated reasons, the

ends of justice served in granting a continuance outweigh the

best interests of the public and the defendants in a speedy

trial.
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      The January 23, 2007 final pretrial conference is continued

to May 22, 2007 at 3:30 p.m.

      SO ORDERED.



                                         /s/Paul Barbadoro
                                         Paul Barbadoro
                                         United States District Judge

January 24, 2007

cc:   David Bownes, Esq.
      Richard Johnston, Esq.
      Bjorn Lange, Esq.
      Dana Cole, Esq.
      Mark Irish, AUSA
      United States Probation
      United States Marshal




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